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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    : Case No.. 21-mj-71 (GMH)
                                             :
ERIC GAVELEK MUNCHEL,                        :
     Defendant.                              :


                                         ORDER

       Upon consideration of the Government’s Appeal of Release Order and Motion for Stay

Pending Appeal (ECF No. 2) as to defendant Erik Gavelek Munchel,

       It is this _________ day of January, 2021,

       ORDERED, that the a stay is hereby GRANTED and the release order entered by the

Middle District of Tennessee Magistrate Judge on January 22, 2021, as to defendant Erik

Gavelek Munchel is STAYED pending review of the detention decision by this Court.




                                           BERYL A. HOWELL
                                           CHIEF JUDGE, UNITED STATES DISTRICT
                                           COURT FOR THE DISTRICT OF COLUMBIA
